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NOTICE THAT A TAX DEED MAY BE ISSUED MAY 4 an

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IF YOU DO NOT RESPOND TO THIS NOTICE, YOU WILL LOSB*YOUR! PROPERTY: |

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TO: Montana Tunnels Mining Inc. Christopher Kamper
P.O. Box 176 Carver, Schwarz, McNab & Bailey, LLC
Jefferson City, MT 59638-0176 1600 Stout Street, Suite 1700
Denver, CO 80202
Debra Self
P.O. Box 176 Elkhorn Tunnels, LLC
Jefferson City, MT 59638-0176 320 West Main Street

Aspen, CO 81611
Montana Tunnels Mining, Inc.,

a Delaware corporation Gordon Snyder, Administrative Agent
5655 South Yosemite Street, Suite 200 28 Middle St., Suite 100
Greenwood Village, CO 80111 Keene, NH 03431
Montana Department of Environmental Montana Tunnels Mining, Inc.
Quality c/o Black Diamond Financial Group LLC
Permitting & Compliance Division P.O. Box 370657
Environmental Management Bureau Denver, CO 80237
P.O. Box 200901 Attn: Eric Altman
Helena, MT 59620-0901
IRS
Barrie Cowan, Attorney and Counselor MS5021 DEN
595 Laidley Street 1999 Broadway
San Francisco, CA 94131-3039 Denver, CO 80202-2490
Department of Labor and Industry Montana Tunnels Mining Inc.
Unemployment Insurance Contributions c/o Patrick Imeson
Bureau 270 MT Tunnels Rd.
P.O. Box 6339 Jefferson City, MT 59638

Helena, MT 59604-6339
Montana Tunnels Mining Inc.

State of Montana DBA: Apollo Gold Inc.

Department of Labor and Industry 5 Miles W of Jefferson City

Employment Relations Division Jefferson City, MT 59638

Uninsured Employers’ Fund

P.O. Box 8011 Michel J. Moore/Ramon E. Mercado

Helena, MT 59604-8011 Collection Bureau Service, Inc. (a Debt
Collector)

BLM P.O. Box 7339

5001 Southgate Dr. Missoula, MT 59807

Billings, MT 59101

2:22-bk-20132-BPH Doc#: 146-1 Filed: 05/20/24 Page 1of5
2:22-bk-20132-BPH Doc#: 184-4 Filed: 12/06/24 Page 1of4 Exhibit 4-1
Occupant
270 Montana Tunnels Rd
Jefferson City, MT 59638
Pursuant to section 15-18-212, Montana Code Annotated, NOTICE IS HEREBY GIVEN:

“1. Asaresult ofa property tax delinquency, a property tax lien exists on the following
described real property in which you may have an interest:

Township 7 North, Range 4 West, Jefferson County, Montana

Section 5: Lots 11 and 22; SE“SW%; SWU“SW%

Section 8: Lots 21, 23, 24, 25, 26, 28, 29, 30, 31, 32, 33, 36, 37, 38, 39, 40, 41, 43, 44
Section 9: NASWASW 4; NY“S“SWU4SWk; SWYNW%; NWY“SWY

Section 16: WANW/4; SEANW'4; SWYANEY“NWY; N“ASWY; SWYSW; NOTE:
This description includes all of Placer 2578, being the NANWY%NW'%; SW4NE“NW4
and the NE~SE“ANW 4; EXCEPTING THEREFROM 2 parcels of land described in
Book “U” of Deeds, page 229 and Book 18 of Deeds, page 418.

Section 17: Lots 1, 2, 3, 5, 6, 7, 8,9, 10, 11, 12, 13, 14, 15, 16, 17 - Except Parcel in Lots
5 & 7, described in Book 61 of Deeds, page 38 - FURTHER EXCEPTING Tract A of
Certificate of Survey Number 235107, Folio 903B

Section 20: NAN%; SANW%4; SE“ZNE“

Deed Reference: Book 120 of Deeds, page 751

Lot 1 of Certificate of Survey Number 191656, Folio 556B, amended by Certificate of
Survey Number 209450, Folio 860B, located in the SE% of Section 16 and the SW% of
Section 15, Township 7 North, Range 4 West, P.M.M., Jefferson County, Montana.

That portion of Placer 213 located in Section 8 and 9, Township 7 North, Range 4 West,
P.M.M., Jefferson County, Montana.

Babe lode mining claim, M.S. No. 9325, located in Section 16, Township 7 North, Range
4 West, P.M.M., Jefferson County, Montana, less Railroad Right of Way.

Columbia lode mining claim, M.S. No. 9080, located in Sections 15 and 16, Township 7
North, Range 4 West, P.M.M., Jefferson County, Montana, less Railroad Right of Way.

May Bird lode mining claim, M.S. No. 8946, located in Sections 9 and 16, Township 7
North, Range 4 West, P.M.M., Jefferson County, Montana.

2:22-bk-20132-BPH Doc#: 146-1 Filed: 05/20/24 Page 2 of 5
2:22-bk-20132-BPH Doc#: 184-4 Filed: 12/06/24 Page 2 of 4 Exhibit 4-2
Nellie lode mining claim, M.S. No. 10031, located in Section 16, Township 7 North,
Range 4 West, P.M.M., Jefferson County, Montana, less Railroad Right of Way.

Those portions of the abandoned Burlington Northern Railroad Company’s Right of Way
located in the E% of Section 16, Township 7 North, Range 4 West. Geo Codes: 51-1586-
16-4-1-11-0000 & 51-1586-16-4-02-01-0000
Deed Reference: Book 119 of Deeds, page 90 and Book 119 of Deeds, page 628.

2. The property taxes became delinquent on June 1, 2010.

3. The property tax lien was attached on July 9, 2010.

4, The lien was subsequently assigned to GOLDFIELDS FUNDING PARTNERS LLC on
December 21, 2021.

5. As of the date of this notice, the amount of tax due is:

TAXES: $2,932,431.75
PENALTY: $58,648.58
INTEREST: $3,371,559.03
COSTS: $4,520.00
TOTAL: $6,367,159.36

6. For the property tax lien to be liquidated, the total amount listed in paragraph 5, plus
additional interest and costs, must be paid by August 1, 2024, which is the date that the
redemption period expires or expired.

7. Ifall taxes, penalties, interest, and costs are not paid to the COUNTY TREASURER on or
prior to August 1, 2024, which is the date the redemption period expires, a tax deed may be

issued to the assignee or county that is the possessor of the tax lien on the day following the date
that the redemption period expires.

8. The business address and telephone number of the county treasurer who is responsible for
issuing the tax deed is: Jefferson County Treasurer, P.O. Box H, Boulder, MT 59632, (406) 225-
4100.

FURTHER NOTICE FOR THOSE PERSONS LISTED
ABOVE WHOSE ADDRESSES ARE UNKNOWN:

1. The address of the interested party is unknown.
2. The published notice meets the legal requirements for notice of a pending tax deed issuance.

3. The interest party’s rights in the property may be in jeopardy.

2:22-bk-20132-BPH Doc#: 146-1 Filed: 05/20/24 Page 3of5
2:22-bk-20132-BPH Doc#: 184-4 Filed: 12/06/24 Page 3of4 Exhibit 4-3
DATED at Missoula, Montana, this 4 day of May, 2024,

C hs fy | owt

Joseph/D. Houstén /

Jones/& Houston, PLLC

2625 Dearborn Ave., Ste. 102

Missoula, MT 59804

Attorney for: GOLDFIELDS FUNDING PARTNERS LLC

IF YOU DO NOT RESPOND TO THIS NOTICE, YOU WILL LOSE YOUR PROPERTY.

2:22-bk-20132-BPH Doc#: 146-1 Filed: 05/20/24 Page 4 of5
2:22-bk-20132-BPH Doc#: 184-4 Filed: 12/06/24 Page 4of4 Exhibit 4-4
